      Case: 1:20-cr-00077-TSB Doc #: 184 Filed: 01/18/23 Page: 1 of 11 PAGEID #: 4464




                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION

      UNITED STATES OF AMERICA                       :
                                                     :    CASE NO. 1:20-CR-77
                                                     :
                            v.
                                                     :    JUDGE BLACK
                                                     :
      LARRY HOUSEHOLDER, et al.,
                                                     :    GOVERNMENT RESPONSE TO
                                                     :    DEFENDANT HOUSEHOLDER’S
                      Defendants.
                                                     :    MOTION TO EXCLUDE PLEA
                                                     :
                                                          AGREEMENTS, COOPERATION
                                                     :
                                                     :    AGREEMENTS, AND IMMUNITY
                                                     :    ORDERS



        The United States respectfully submits this response to Defendant Larry Householder’s Motion

to Exclude Plea Agreements, Cooperation Agreements, and Immunity Orders. (Doc. 181.) For the

reasons that follow, the motion should be denied.1




  1
    On January 16, 2023, Defendant Borges filed a motion joining Defendant Householder’s motion
  and adopting his arguments. (Doc. 183.) Defendant Borges’s motion should be denied for the same
  reasons.
    Case: 1:20-cr-00077-TSB Doc #: 184 Filed: 01/18/23 Page: 2 of 11 PAGEID #: 4465




                                           ARGUMENT

     I.      The Motion is Untimely.

          The Court’s Order required all motions in limine to be filed by November 9, 2022. (Doc.

118, criminal trial calendar at 3396.) Yet, Householder has filed this motion over two months after

that deadline and just six days before trial. Householder has provided no explanation for his belated

motion. See Birge v. Dollar Gen. Corp., No. 04-2531 B, 2006 WL 133480, at *1 (W.D. Tenn. Jan.

12, 2006) (“[A] court’s scheduling order is not a frivolous piece of paper, idly entered, which can

be cavalierly disregarded . . . without peril[.]” (quotation omitted)).

          To the extent Householder claims that he could not have filed this motion sooner because

he did not receive the government’s Jencks Act production until earlier this month, that is

nonsense. Defense counsel are experienced federal practitioners. They have long known that

coconspirators Jeffrey Longstreth and Juan Cespedes pled guilty pursuant to plea agreements, and

they have likewise long anticipated that they will testify at trial. (Docs. 63, 64 (coconspirator plea

agreements); Doc. 92 (Borges motion to compel statements of Cespedes and Longstreth); Doc.

174 (proposed jury instructions seeking Sixth Cir. Pattern 7.07 (Testimony of a Witness Under

Grant of Immunity of Reduced Criminal Liability)).) What’s more, counsel previously cited, in a

motion in limine that was timely filed, the law on which they rely in this untimely motion. (Doc.

140, motion in limine at 3782-83.) Counsel has thus had both the factual basis and legal basis for

this motion for months but elected to wait until the week before trial to file it.2 See, e.g., Pearl v.

Keystone Consol. Industries, Inc., 884 F.2d 1047, 1052 (7th Cir. 1989) (district court did not abuse

its discretion in denying a motion in limine that was untimely).3



2
  Defense counsel filed a similar motion—also one week before trial—in a conspiracy case in the
Northern District of Ohio. United States v. Clark, No. 1:19-cr-148, Doc. #177.
3
  For purposes of appeal, the government asks the Court to also rule on the merits of the motion.
                                                  1
    Case: 1:20-cr-00077-TSB Doc #: 184 Filed: 01/18/23 Page: 3 of 11 PAGEID #: 4466




     II.      The Motion Also Should Be Denied on the Merits.

           The law is well-settled that, under proper instruction, evidence of a guilty plea may be

elicited by the prosecutor on direct examination so that the jury may assess the credibility of the

witnesses the government asks it to believe. United States v. Sanders, 95 F.3d 449, 454 (6th Cir.

1996); United States v. Christian, 786 F.2d 203, 214 (6th Cir. 1986). Householder argues that

evidence of a witness’s guilty plea may not be elicited by the government if he promises not to

attack the witness’s credibility on that basis. He is wrong. Indeed, every Court of Appeals to

directly consider this question—whether a defendant’s promise not to raise the issue of a witness’s

guilty plea prevents the government from raising it—has held that it does not. See United States v.

Montani, 204 F.3d 761, 766 (7th Cir. 2000); United States v. Universal Rehab. Servs., 205 F.3d

657, 666-67 (3d Cir. 2000) (en banc); United States v. Richardson, 421 F.3d 17, 40 (1st Cir. 2005);

United States v. McNeill, 728 F.2d 5, 14 (1st Cir. 1984) (immunity agreements).

           Codefendants Longstreth and Cespedes have pled guilty to conspiracy and have agreed to

testify at trial. The government does not intend to introduce the plea agreements or cooperation

agreements themselves into evidence, but it does intend to elicit testimony from the witnesses

about their guilty pleas and their agreements with the government.4 The cooperators’ testimony

regarding their guilty pleas will aid the jury in assessing their credibility; explain why the



4
  The government also plans to call witnesses pursuant to immunity grants. With respect to these
witnesses, the government intends to inquire about the court orders granting the witnesses’
immunity and compelling them to testify. As Householder’s motion focuses on the cooperators,
this response does as well. On the specific issue of immunity agreements, however, the United
States directs the Court to United States v. McNeill, 728 F.2d 5 (1st Cir. 1984) and United States
v. LeFevour, 798 F.2d 977 (7th Cir. 1986). McNeill, 728 F.2d at 14 (holding that “the trial court
correctly permitted the government to elicit [information about orders granting witnesses
immunity to testify],” despite the defense’s promise “not [to] impeach the witnesses’ credibility
on cross-examination”); LeFevour, 798 F.2d at 984 (“fact of [immunity] agreements [] was
relevant to putting the essential circumstances of the witnesses’ testimony before the jury even if
there was no expectation of cross-examination”).
                                                  2
 Case: 1:20-cr-00077-TSB Doc #: 184 Filed: 01/18/23 Page: 4 of 11 PAGEID #: 4467




cooperators are willing to testify about their involvement in criminal activity; and make clear that

the defendants are not being selectively prosecuted.

       Jurors must determine the credibility of all witnesses who testify, regardless of whether

their credibility is attacked. Sixth Cir. Pattern 1.07 (Credibility of Witnesses). Of course, here,

Householder does intend to attack the cooperators’ credibility; and for an understandable reason.

The cooperators’ testimony—and, therefore, their credibility—is highly relevant to establishing

the facts of the conspiracy in this case. But the jury cannot properly assess the cooperators’

credibility without knowledge of their guilty pleas. See Universal Rehab., 205 F.3d at 667 (“offer

to refrain from affirmatively challenging [witnesses’] credibility did not, and could not, carry the

same probative value on the issue of witness credibility as the introduction of [their] guilty pleas”);

McNeill, 728 F.2d at 14 (defendant’s statement that he would not impeach government’s witness

“d[id] not diminish the benefit to the jury of having before it information relevant to its task of

judging credibility and weighing testimony”); Montani, 204 F.3d at 766 (“introducing evidence of

a witness’s guilty plea or immunity deal serves the ‘truth-seeking’ function of the trial by

presenting all relevant aspects of a witness’s testimony at one time”). The United States is entitled

to put the cooperators’ testimony in context and provide the jury with all of the information needed

to assess their credibility. By questioning the cooperators about their guilty pleas, the government

“simply want[s] the jury to recognize who [each] witness is, take the testimony as it is, and give

[it] a fair evaluation, blemishes and all.” Christian, 786 F.2d at 214; see id. (the jury should know

a witness’s “total connection” to the crime).

       Householder’s argument rests on the incorrect assumption that, “once the defense forgoes

impeaching on the basis of a guilty plea, the relevance of the plea disappears.” (Doc. 181 at 4365.)

Householder’s promise cannot remove the relevance of the cooperators’ guilty pleas because



                                                  3
 Case: 1:20-cr-00077-TSB Doc #: 184 Filed: 01/18/23 Page: 5 of 11 PAGEID #: 4468




“impeachment is presumed” where witnesses testify about crimes in which they were participants.

Montani, 204 F.3d at 767 (coconspirator’s “credibility was impeached by his own testimony”);

Universal Rehab, 205 F.3d at 666 (where coconspirator testifies that he took part in a crime with

which defendant is charged, his “credibility is automatically implicated”) (citation and quotation

marks omitted); see Fed. R. Evid. 607 (permitting “[t]he credibility of a witness [to] be attacked

by any party, including the party calling the witness”). The jury will “naturally and unavoidably”

wonder why these witnesses are testifying for the government, whether they were charged with

crimes, and what they are getting in return for their testimony. Montani, 204 F.3d at 766. In this

situation, where a witness’s “integrity and character for truthfulness will be questioned,” the

government “has a right to bring out evidence explaining to the jury the reasons for and extent of

[a cooperating witness’s] bias.” Id. at 767; Universal Rehab, 205 F.3d at 666.

       Contrary to Householder’s suggestion, introducing the fact of the guilty pleas in this

situation “does not ‘bolster’ the witness’s credibility at all.” Montani, 204 F.3d at 766. “Instead, it

merely allows the government to provide the impeaching fact on its own terms.” Id. at 766. The

jury should be permitted to consider the “conflicting motivations” underlying a witness’s

testimony. United States v. Thornton, 609 F.3d 373, 377 (6th Cir. 2010) (noting that plea

agreements can be interpreted as hurting a witness’s credibility).

       Introducing evidence that the cooperators entered guilty pleas is also necessary to eliminate

inevitable concerns about selective prosecution, and to prevent uninformed speculation about that

issue. Universal Rehab., 205 F.3d at 666-67 (testimony about guilty pleas admissible, despite

defense promise to forgo cross-examination, to “counteract the possibility that the jury might

believe [the defendants] were being selectively prosecuted”); see Montani, 204 F.3d at 766-77. If

the government cannot elicit the basic facts of the cooperators’ guilty pleas on direct examination,



                                                  4
    Case: 1:20-cr-00077-TSB Doc #: 184 Filed: 01/18/23 Page: 6 of 11 PAGEID #: 4469




the jury will be left to speculate about why the defendants were singled out for prosecution. In this

way, Householder will be able to effectively circumvent the Court’s order (Doc. 161) prohibiting

selective-prosecution arguments.

        To be clear, Householder has not agreed to refrain from challenging the cooperators’

credibility, nor has he agreed to refrain from raising inferences the guilty pleas might rebut. He

has simply promised not to impeach the witnesses on the basis of their plea agreements. It is

therefore likely that the government will need to question the witnesses about their guilty pleas on

redirect. If Householder has his way, the jury will be left with the misimpression that the

government was purposely hiding this evidence from them.5 See, e.g., Christian, 786 F.2d at 214

(“The prosecutor may also wish to place the plea before the jury so as to blunt defense efforts at

impeachment and dispel the suggestion that the government or its witness has something to hide.”).

        Finally, the probative value of this testimony is not substantially outweighed by the danger

of unfair prejudice. Fed. R. Evid. 403. Householder argues that “[a]dmission of a co-defendant’s

guilty plea is especially prejudicial in a conspiracy case” because it risks the jury “‘accept[ing] the

co-conspirator’s plea as evidence of a conspiracy.’” (Doc. 181 at 4366 (quoting United States v.

Clark, No. 1:19-cr-148, 2020 WL 830057, at *13 (N.D. Ohio Feb. 20, 2020).) But proper limiting

instructions given before each witness’s testimony and at the conclusion of the trial will cure any




5
  In suggesting that “there is no risk” of this happening, Householder misquotes United States v.
Dworken, 855 F.2d 12, 30 n.21 (1st Cir. 1988). That case stated: “[D]efendant's argument would
be in a different posture had defense counsel stipulated with certainty that [the witness’s]
credibility would not be challenged. In that case, the guilty plea and the terms of the agreement
struck with the government would not have been probative as to any part of [the witness’s]
testimony or the crimes alleged.”). Householder’s alteration is misleading. (Doc. 181 at 4365 (“[If
the defense stipulated that they would not challenge the witness’s credibility with the witness’s
plea,] the guilty plea and the terms of the agreement struck with the government would not have
been probative as to any part of [the witness’s] testimony or the crimes alleged.”).)
                                                  5
    Case: 1:20-cr-00077-TSB Doc #: 184 Filed: 01/18/23 Page: 7 of 11 PAGEID #: 4470




such prejudice.6 See Universal Rehab., 205 F.3d at 669 (affirming admission of evidence of

coconspirator guilty pleas under Rule 403, despite defense promise not to impeach on that basis,

and “hold[ing] that the detailed limiting instructions provided by the district court cured the

prejudicial effect, if any, flowing from the introduction of [coconspirators’] guilty pleas and plea

agreements”); Montani, 204 F.3d at 767 (affirming admission of evidence of co-defendant guilty

plea under Rule 403, despite defense promise not to impeach on that basis, and noting that any

prejudice was “cured . . . through the usual method of instructing the jury to consider the evidence

only for credibility”); see also, e.g., United States v. Stapleton, 297 F. App’x 413, 421 (6th Cir.

2008) (limiting instructions regarding guilty pleas “were adequate to ensure that the jury did not

use [the] evidence for an improper purpose”); United States v. Skouteris, 51 F.4th 658, 671 (6th

Cir. 2022) (jurors are presumed to follow limiting instructions concerning proper uses of

evidence). Any potential prejudice flowing from testimony concerning the pleas will be further

negated because the cooperators will be testifying about the specific facts underlying the

conspiracy. See Thornton, 609 F.3d at 377 (holding that admission of testimony about the details

of cooperating coconspirator’s plea agreement on direct examination “was not error” and noting

that potential prejudice of conspiracy plea was negated because coconspirator testified about facts

underlying conspiracy); Christian, 786 F.2d at 214 (“much of this potential for prejudice is negated

when the pleading codefendant . . . testifies regarding the specific facts underlying the crimes in

issue”).



6
  The United States proposes the following instruction: As part of [witness’s] testimony, you heard
evidence that [witness] pled guilty to a crime. The fact that [witness] pled guilty to a crime is not
evidence that the defendants are guilty, and you cannot consider this evidence against the
defendants in any way. This evidence may only be used to assess the credibility of [witness’s]
testimony. In other words, it may only be used to determine how much or how little weight to give
to [witness’s] testimony.

                                                 6
    Case: 1:20-cr-00077-TSB Doc #: 184 Filed: 01/18/23 Page: 8 of 11 PAGEID #: 4471




        The two district court cases Householder cites in support of his motion are distinguishable

and do not support exclusion of testimony concerning the cooperators’ guilty pleas in this case.

(Doc. 181 at 4366 (citing United States v. Nosal, No. CR-08-0237 EMC, 2013 WL 11327121,

(N.D. Cal. Mar. 29, 2013); United States v. Clark, No. 1:19-cr-148, 2020 WL 830057, (N.D. Ohio

Feb. 20, 2020)).) In United States v. Clark, the district court initially denied the motion for

exclusion. The district court later reversed itself in a post-trial order in which it found that

admitting the plea agreement evidence “risk[ed] that the jury accept[ed] the co-conspirator’s pleas

as evidence of a conspiracy.” Id. at *14. Crucial to the court’s reversal was the fact that its

expectations about the evidence did not pan out: the coconspirators did not independently testify

about the facts relating to the conspiracy and “the conspiracy claims were much weaker than the

Court [believed them to be].” Id. In addition, the district court failed to issue a contemporaneous

limiting instruction, compounding the prejudice. Id.7 For the reasons explained above, these

concerns will not be present here.

        The other case Householder cites, United States v. Nosal, No. CR-08-0237 EMC, 2013 WL

11327121, (N.D. Cal. Mar. 29, 2013), similarly relied on case-specific factors in its Rule 403

analysis, including that the defendant “[did] not assert selective prosecution” and that the witnesses

would testify that documents taken were “trade secrets,” a fact the defendant “hotly contest[ed].”

Id. at *8. Here, in contrast, arguments and inferences about selective prosecution are a serious

concern. And Householder has identified no similarly contested facts that will be implicated by

the cooperators’ testimony.




7
  Although the Clark court determined that admitting the testimony about the guilty pleas was
error, it did not find that the error was significant enough to warrant a new trial. Id. at *15.
                                                  7
 Case: 1:20-cr-00077-TSB Doc #: 184 Filed: 01/18/23 Page: 9 of 11 PAGEID #: 4472




       For all of these reasons, the probative value of evidence that the cooperators pled guilty is

not substantially outweighed by the risk of unfair prejudice. Fed. R. Evid. 403. Based on the

specific facts of this case, the Court should conclude that the evidence is admissible.




                                                 8
 Case: 1:20-cr-00077-TSB Doc #: 184 Filed: 01/18/23 Page: 10 of 11 PAGEID #: 4473




                                       CONCLUSION

       The defendant’s motion should be denied, both because it is untimely and because it fails

on the merits.

                                            Respectfully submitted,

                                            KENNETH L. PARKER
                                            United States Attorney

                                            s/ Emily N. Glatfelter
                                            EMILY N. GLATFELTER (0075576)

                                            s/ Matthew C. Singer
                                            MATTHEW C. SINGER (IL 6297632)

                                            s/ Megan Gaffney Painter
                                            MEGAN GAFFNEY PAINTER (NY4849220)
                                            Assistant United States Attorneys
                                            221 East Fourth Street, Suite 400
                                            Cincinnati, Ohio 45202
                                            Office: (513) 684-3711
                                            Fax: (513) 684-6385
                                            E-mail: Emily.Glatfelter@usdoj.gov
                                            Email: Matthew.Singer@usdoj.gov
                                            Email: Megan.Gaffney@usdoj.gov




                                               9
 Case: 1:20-cr-00077-TSB Doc #: 184 Filed: 01/18/23 Page: 11 of 11 PAGEID #: 4474




                                  CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was filed with the Court’s CM/ECF System this 18th day

of January 2023, which provides electronic notice to all parties.

                                                       s/ Emily N. Glatfelter
                                                       EMILY N. GLATFELTER (0075576)
                                                       Assistant United States Attorney




                                                  10
